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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

 COMBINED PUBLIC                                §
 COMMUNICATIONS, INC.,                          §
                                                §
                     Third-Party Plaintiff      §
                                                §
         v.                                     §         Cause No. 3:09-CV-743-S
                                                §
 LATTICE INCORPORATED (f/k/a                    §
 Science Dynamics Corporation),                 §
                                                §
                     Third-Party Defendant      §
                                                §

                     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

         Having found that Third-Party Plaintiff Combined Public Communications, Inc. (“CPC”)

 and Third-Party Defendant Lattice Incorporated (f/k/a Science Dynamics Corporation)

 (“Lattice”), by counsel, have filed a Stipulation of Dismissal With Prejudice as to all claims

 pending by and between them;

         IT IS HEREBY ORDERED that CPC’s Third-Party Complaint against Lattice, together

 with all claims, counterclaims, and third-party claims or counterclaims that were, or could have

 been, asserted by and between CPC and Lattice in this action be, and the same hereby are,

 dismissed with prejudice, with all parties to bear their own costs and fees.
 December 10, 2013




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